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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                               STANDING ORDER IN CIVIL CASES

                              THIS ORDER CONTROLS THIS CASE
To help “secure the just, speedy, and inexpensive determination of” this action, FED. R. CIV. P. 1,
the parties are hereby ORDERED to comply with the following directions:

1.      REMOVED ACTIONS

        a. A defendant removing an action to this Court must refile any answer filed before
           removal and promptly ensure that all parties receive a copy of this Standing Order.

        b. Any motion pending in the court from which the case is removed at the time of removal
           must be refiled in this Court by the party seeking relief. See FED. R. CIV. P. 81(c)(2).
           Motions that are not refiled will be deemed withdrawn and not considered.

2.      TRANSFERRED ACTIONS

        a. Any motion pending and unresolved in the court from which the case is transferred at the
           time of transfer must be refiled in this Court by the party seeking relief within seven
           days after the transfer order is filed in this Court’s docket. Motions that are not refiled
           will be deemed withdrawn and not considered.

        b. A defendant who did not answer the complaint before transfer must answer or make any
           motion otherwise authorized under Federal Rule of Civil Procedure 12 within twenty-
           one days after the transfer order is filed in this Court’s docket.

3.      COMMUNICATIONS WITH CHAMBERS

        Except as authorized in this Order, the parties may not contact Chambers by telephone. If
        extraordinary circumstances or emergencies so require, however, counsel may contact
        Chambers jointly via telephone conference. Chambers will not provide legal advice of any
        kind.

4.      INITIAL STATUS CONFERENCE AND ISSUANCE OF SCHEDULING ORDER

        a. After an answer is filed, for those cases covered by Federal Rule of Civil Procedure
           26(f) and Local Civil Rule 16.3, the Court will set an Initial Scheduling Conference and
           order the parties to meet and confer to discuss the matters set forth in Local Civil Rule
           16.3(c), and to jointly file a report addressing them. 1 Following the Initial Scheduling
           Conference, the Court will issue a Scheduling Order governing further proceedings in
           the case.
1
  The Local Civil Rules are available at http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-
rules.

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     b. As part of the joint report, the parties shall propose three alternative dates for a trial in
        the matter. The Court will set a trial date as part of its Scheduling Order. The trial date
        will not be extended absent extraordinary cause, i.e., the legal equivalent of
        Armageddon. Counsel should plan accordingly.

5.   FILING GUIDELINES

     a. Courtesy Copies. Counsel for the moving party shall provide Chambers, not the Clerk’s
        Office, with two printed courtesy copies, with ECF headers, of any electronic
        submission that, along with exhibits, numbers fifty (50) pages or more in total length.

           i.   Briefs:

                A.        Chambers’ copies should not be submitted until briefing is complete and
                          should include any oppositions, replies, or sur-replies. For dispositive
                          motions, the operative complaint should be included.

                B.        Briefs and exhibits shall be indexed and tabbed for ease of
                          reference. Pages should be double-sided and in either black and white or
                          greyscale, unless color would aid the Court’s review (e.g., charts and
                          photographs).

                C.        The Court prefers A5 coil-bound courtesy copies; however, the Court will
                          also accept three-ring binders (no larger than two-inch). Before providing
                          any courtesy copy that would exceed three coil-bound copies or three
                          two-inch binders, counsel shall contact Chambers for instruction.

                D.        Pro se, in forma pauperis, and incarcerated plaintiffs are excused from
                          providing courtesy copies.

          ii.   Key Cases: The moving party shall also provide one jointly-prepared, three-ring
                binder comprised of key cases. The cases should be tabbed and in alphabetical
                order, and the binder should include an index. Pages should be single-sided.

     b. Exhibit Index. Each submission that attaches more than one exhibit shall contain an
        index of exhibits. Exhibits shall be edited properly to exclude irrelevant material and to
        direct the Court’s attention to the pertinent portions.

     c. Attachments. Each attachment to a filing (e.g., supporting memorandum, statement of
        material facts, exhibit, affidavit, and proposed order) must be filed as a separate PDF and
        appropriately labeled in ECF. If the document has its own pagination, it should be a
        separate attachment.

     d. Joint Status Reports. In FOIA cases, if the parties agree on providing updated status
        reports to the Court, the parties should inform the Court of their schedule. If the Court
        does not enter an order to the contrary, the parties should proceed to provide status
        reports per the agreed-upon schedule.


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6.     APPEARANCES BEFORE THE COURT

       a. Attorneys are expected to treat all courtroom staff, opposing counsel, and parties with
          civility and respect.

       b. Absent leave of Court, the attorney who will serve as principal trial counsel must appear
          at all conferences with the Court. Any attorney appearing before the Court must enter a
          notice of appearance on ECF.

       c. All attorneys appearing before the Court must have authority to bind the party they
          represent consistent with the proceeding (for example, by agreeing to a discovery or
          briefing schedule), and should be prepared to address any matters likely to arise at the
          proceeding.

       d. The Court encourages the participation of less experienced attorneys in all
          proceedings—including pretrial conferences, hearings on discovery disputes, oral
          arguments, and examinations of witnesses at trial—particularly where that attorney
          played a substantial role in drafting the underlying filing or in preparing the relevant
          witness. The Court will be more likely to grant a request for oral argument if doing so
          would afford the opportunity for a junior attorney to gain courtroom experience.

7.     MOTIONS – GENERALLY

The parties shall comply with the following instructions when briefing any motion. Motions filed
not in compliance with this Standing Order may be rejected by the Court.

       a. Format. Motions and submissions should be double-spaced, in 12-point, Times New
          Roman font, with page numbers and margins of no less than 1 inch, and two spaces
          between sentences. 2 All citations must include exact page references (pin citations).
          Absent leave of the Court, memoranda of points and authorities in support of, and in
          opposition to, motions may not exceed 45 pages, and reply memoranda may not exceed
          25 pages. See LCvR 7(e). All electronically filed documents are to be in text-searchable
          Portable Data Format (“PDF”). Likewise, exhibits that must be scanned because they
          exist only in paper format should, if possible, be submitted as text-searchable files using
          Optical Character Recognition (“OCR”) technology, available in Adobe Acrobat.




2
 The Court is mindful of the raging debate spaces between sentences engenders. See James
Hamblin, The Scientific Case for Two Spaces After a Period, The Atlantic (May 11, 2018). Team
Two Spaces champions improved readability and processing speed. See Rebecca L. Johnson, et al.,
Are two spaces better than one? The effect of spacing following periods and commas during
reading, 80:6 ATTENTION, PERCEPTION, & PSYCHOPHYSICS, 1504–11 (2018). Team One Space
questions the science and notes that two space use is the monospaced font relic of a bygone era. See
Angela Chen, Please don’t use this study to justify your horrible habit of using two spaces after
periods, The Verge (Apr. 28, 2018). Personally finding that one space use makes documents
impenetrable, the Court sides squarely with Team Two Spaces.
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b. Tables. Every memorandum of points and authorities that is ten pages or longer in
   length must contain a Table of Contents and Table of Authorities, regardless of whether
   it is filed in support of or in opposition to a motion.

c. Sur-Replies. A party may not file a sur-reply without first obtaining leave of the Court
   and may do so only upon a specific showing of good cause. Any motion for leave to file
   a sur-reply shall not be accompanied by a copy of the sur-reply that the party wishes to
   file.

d. Supplemental Authorities. A party may bring supplemental authorities to the Court’s
   attention without seeking prior leave of the Court but should refrain from using the
   submission of supplemental authorities as an opportunity to reargue issues or to respond
   to arguments made in an opposing brief. Although the submission of supplemental
   authorities should not be made by letter to the Clerk, but rather in a pleading filed in the
   usual manner, the parties are otherwise directed to follow the procedures set forth in
   Federal Rule of Appellate Procedure 28(j).

e. Proposed Orders. A proposed order should be submitted whenever a party requests
   relief from the Court, including for matters as routine as proposing a new date for a joint
   status report (with an exception for FOIA cases, as noted above, supra Section 5.d).
   Proposed orders should be filed on the docket as a PDF attachment to the corresponding
   motion, and counsel must also submit proposed orders to the Court by emailing a
   Microsoft Word version of the draft to reyes_proposedorders@dcd.uscourts.gov. The
   subject line of the email must include (1) the case name; (2) the case number; (3) the
   docket number of the corresponding motion; and (4) the title of the order that is
   proposed as indicated on the Notice of Electronic Filing. Counsel must serve a copy of a
   proposed order on all other parties by copying them on the email to the Court. Unless
   the Court directs otherwise, a party must file a motion asking the Court to enter the
   proposed order. Submitting a draft to the Court’s proposed order inbox is not a
   substitute for a motion. The Court will consider proposed orders when ruling on
   motions, but will modify (or disregard altogether) such proposed orders as it deems
   appropriate, even if all parties agree on the proposed order. Proposed orders (such as
   stipulated protective orders) require Court approval before they are in effect.

f. Pre-Motion Conference. If a party wishes to file a dispositive motion, it must request
   that the Court schedule a pre-motion conference. To so request, the moving party shall
   submit a short notice via ECF, not to exceed four double-spaced pages in length, setting
   forth the basis for the anticipated motion, including the legal standards and the claims at
   issue. Other parties shall respond by filing, within one week, a document of similar
   length setting forth their anticipated responses to the proposed motion. The Court will
   review and discuss with counsel the anticipated motion at the pre-motion conference,
   which will take place in-person unless the Court grants permission to hold the
   conference by video. The parties should contact Judge Reyes’ Courtroom Deputy to
   schedule the conference for a date 1-2 weeks after the response is filed. This
   requirement shall not apply to incarcerated pro se litigants or immigration mandamus
   cases.



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           For motions to dismiss under Federal Rule of Civil Procedure 12(b), the filing date of
           the letter will serve as the operative date for determining compliance with Rule 12’s
           timing requirement.

       g. Oral Argument.

              i.   A party may include a request for oral argument in its motion, opposition, or
                   reply papers and, if this request is granted, counsel will be advised of the
                   argument date. See LCvR 7(f). See supra ⁋ 6(d) for further information
                   concerning oral argument.

             ii.   The Court understands that, for reasons passing understanding, not all counsel
                   are fans of the Boston Red Sox. Counsel should be aware, however, that the
                   Court may reference key moments in Red Sox history during oral argument.
                   References may include: (a) Dave Roberts’s steal; (b) Carlton Fisk’s walk-off
                   homerun; (c) Ted Williams’s final at-bat; 3 and, inter alia, (d) David Ortiz’s “this
                   is our [bleep] city” speech. Any reference to Game 6 of the 1986 World Series is
                   strictly prohibited.

            iii.   Upon arrival to the courtroom, counsel may share their preferred pronouns with
                   the Courtroom Deputy.

       h. Duty to Confer Regarding Non-Dispositive Motions. Local Civil Rule 7(m), which
          requires counsel to confer before filing a non-dispositive motion and to include in the
          motion confirmation that such conferral occurred and a statement whether the motion is
          opposed, will be strictly enforced. See LCvR 7(m). The Court expects counsel to
          exhaust efforts to confer before bringing before it any such dispute. An adequate
          certificate of conference almost always requires at least two personal communications
          between counsel. Un-responded to emails are not enough to satisfy counsel’s
          obligations under this Rule. Failure to comply fully with Local Civil Rule 7(m) when
          filing a non-dispositive motion will result in the motion being stricken and may also
          result in further sanctions.

       i. Motions to Amend Pleadings. Any amended pleading shall be accompanied by a redline
          comparison between the original and the amended or proposed amended pleading.

       j. Motions for Summary Judgment. This Court strictly enforces Local Civil Rule 7(h)
          when resolving motions for summary judgment and will “assume that facts identified by
          the moving party in its statement of material facts are admitted, unless such a fact is
          controverted in the statement of genuine issues filed in opposition to the motion.” LCvR
          7(h); see also FED. R. CIV. P. 56(e).

              i.   Pursuant to Local Civil Rule 7(h)(1), the moving party shall include a separate
                   document entitled Statement of Material Facts Not in Dispute. This document
                   shall be formatted as a two-column table. In the left column, the moving party
                   shall list in separately numbered rows concise statements of each material fact it

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  The Court recommends to the reader John Updike’s classic, Hub Fans Bid Kid Adieu. As Garrison Keillor
has highlighted, “No sportswriter ever wrote anything better.”
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            contends is not in dispute, supported by appropriate citations to the record. The
            statement must contain only one undisputed factual assertion per numbered row.

       i.   Following the filing of this document with the Court, the moving party shall
            promptly provide an electronic copy in editable format to the opposing party.

     ii.    In response, the opposing party shall file a separate document entitled Counter-
            Statement of Disputed Facts. The opposing party shall indicate in the right
            column whether each corresponding fact in the left column is admitted or denied,
            and for those denied, provide appropriate citations to the record. If the fact is
            admitted in part and denied in part, the opposing party shall specifically identify
            which parts are admitted and which are denied, with appropriate citations to the
            record.

     iii.   If the opposing party has additional facts that are not directly relevant to its
            response to a specific paragraph, it must identify such facts in consecutively
            numbered rows in the right-hand column at the end of its responsive statement of
            facts.

     iv.    At the end of the Counter-Statement of Disputed Facts, the opposing party
            shall list the material facts as to which the opposing party contends there is a
            genuine issue of material fact for trial in the right column in consecutively
            numbered rows.

      v.    Following the filing of this document with the Court, the opposing party shall
            promptly provide an electronic copy in editable format to the moving party.

     vi.    In response, the moving party shall file a separate document entitled Reply to
            Counter-Statement of Disputed Facts, responding with appropriate citations in
            the left column to the additional facts.

    vii.    The parties are cautioned that failure to comply with this requirement may result
            in the denial of the motion without prejudice or may result in the Court
            concluding that facts are not properly controverted and thus undisputed.

k. Motions to Seal. A party must submit a redacted version, suitable for filing on the
   public docket, of any document that it proposes to seal at the same time the party files a
   motion to seal. If a party believes that all portions of a sealed document must remain
   sealed, the party must specifically notify the Court of that belief at the time of filing the
   motion to seal.

l. Motions to Seal Relying on Protective Orders. Parties may not rely solely on
   designation under a protective order to file documents under seal. Even when a
   protective order has been issued in a case, the Court cannot abdicate its responsibility to
   determine whether filings should be made available to the public, applying the test
   articulated in United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980). Before moving
   to file under seal materials subject to a protective order, the moving party must confer
   with the opposing party and provide the results of that conferral process in the motion to

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        seal, as well as analysis of the relevant Hubbard factors warranting sealing, to ensure
        that any requested sealing is appropriate under Hubbard.

     m. Pro Se Parties. In a case involving a pro se party, electronic filing procedures will be
        followed by parties represented by counsel only. Absent separate order of the Court, the
        party appearing pro se shall continue to file documents in paper form with the Clerk’s
        Office. Parties represented by counsel must serve documents upon pro se parties in
        paper form.

     n. Requests Other Than Ultimate Relief Referenced in Complaint. Requests other than for
        ultimate relief that are referenced in the Complaint, such as requests for an extension of
        time to seek class certification or for a temporary restraining order, shall be made in a
        motion separate from the Complaint. See, e.g., LCvR 75.1(a). Such motions shall be
        accompanied by a statement of the specific points of law and authority that support the
        motion, including, where appropriate, a concise statement of facts. LCvR 7(a).

8.   MOTIONS FOR RECONSIDERATION

     Motions for reconsideration are strongly discouraged. The Court will not entertain a motion
     that (a) reasserts arguments previously raised and rejected by the Court or (b) raises for the
     first time arguments that should have been advanced in the original motion.

9.   MOTIONS FOR EXTENSION OF TIME OR RESCHEDULING HEARING

     a. Motion Required. Extensions or enlargements of time will be granted only upon motion,
        and not upon stipulation by the parties. Motions for extensions of time or for
        continuances of court proceedings are strongly discouraged. Counsel and parties should
        work within the time frames set by the Scheduling Order.

     b. Timing and Content. When good cause is shown, the Court will consider a motion for
        time extension or continuance of a proceeding that is filed at least 4 days prior to the
        deadline and states:
            i. the original date of the deadline the motion is seeking to extend or the date of the
               scheduled hearing the motion is seeking to continue;
           ii. the number of previous extensions of time or continuances granted to each party;
          iii. the good cause supporting the motion;
          iv.  the effect, if any, that the granting of the motion will have on existing deadlines;
           v.  for motions, suggested deadlines (reached in consultation with the opposing
               party) for the filing of any opposition and reply papers; for continuances, three
               alternative dates and times that are convenient to all parties; and
          vi.  the opposing party’s position on the motion, including any reasons given for
               refusing to consent, see LCvR 7(m).

     c. Opposition. A party opposing a motion for an extension of time or continuance of a
        scheduled hearing date must file, by 5:00 PM of the business day after the motion is
        filed, the party’s reasons for opposing the motion. If no such explanation is provided
        to the Court within this time frame, the motion shall be deemed conceded. Informing the
        opposing party that the motion for an extension or continuance is opposed does not
        constitute an explanation to the Court.
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      d. Untimely motions. Untimely motions for an extension must contain an explanation for
         the failure to comply with the four-day rule. Untimely motions will be denied absent
         compelling cause.

10.   DISCOVERY DISPUTES

      a. Telephone Conference. The Court expects the parties to follow the requirements of
         Federal Rule of Civil Procedure 26 and Local Civil Rule 26.2. Before bringing a
         discovery dispute to the Court’s attention, the parties must confer in good faith in an
         attempt to resolve the dispute informally. If unable to resolve the dispute informally, the
         parties shall jointly prepare a short email to send to the Court, at
         Reyes_Chambers@dcd.uscourts.gov, requesting a teleconference with the Court and
         including a clear, concise description of the issues in dispute, an explanation of the
         parties’ positions with citations, and responses to opposing arguments.

      b. Leave of Court Required. Before filing a motion relating to a discovery dispute, a party
         must obtain leave of the Court. Failure to comply with this requirement may result in
         any such motion being stricken.

11.   SETTLEMENT

      The Court expects the parties to evaluate the case for purposes of settlement. Toward that
      end, the parties may, by motion, request referral for mediation to a Magistrate Judge or the
      Court’s mediation program. The parties may also seek relief, by motion, from a Scheduling
      Order for arbitration, early neutral evaluation, or any other form of alternative dispute
      resolution that may be tailored to the needs of the case. If the case settles, in whole or in
      part, plaintiff’s counsel must promptly file a notice with the Court.

12.   JOINT PRETRIAL STATEMENT

      a. Timing. The parties must file with the Court a Joint Pretrial Statement at least 14 days
         before the final pretrial conference unless the Court sets another filing date. See
         LCvR 16.5(a).

      b. Contents. In accordance with Local Civil Rule 16.5(b), (d), and (e), the Joint Pretrial
         Statement must include:
           i.   a one-paragraph joint statement of the case that is appropriate to be read to the
                jury and describes the nature of the case and the identities of the parties;

           ii.   the estimated length of the evidentiary portion of the trial;

          iii.   a statement of claims setting forth each claim a party has against any other party
                 and the statutory basis of the Court’s jurisdiction for all causes of action;

           iv.   a statement of defenses setting forth each defense raised by a party to a claim
                 asserted against it;


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     v.    a list of witnesses (including expert and potential rebuttal witnesses) anticipated
           to be called by each party, accompanied by a brief description of each witness’s
           expected testimony and the anticipated time for such testimony on direct,
           followed by specific objections (if any) to each witness;

     vi.   a list of exhibits that each party intends to offer during trial and separately
           identifying exhibits that may be offered if the need arises, followed by specific
           objections (if any) to each exhibit, which exhibit list shall be in a format with six
           columns, with separate headings for: (1) exhibit number, (2) description of
           exhibit, (3) marked for identification, (4) admitted in evidence, (5) objection, and
           (6) witness/date;

    vii.   a designation of depositions, or portions thereof, to be offered into evidence by
           each party. To facilitate the Court’s review and ensure clarity of the record
           regarding the Court’s ruling on each objection posed by any party to the
           opposing party’s transcript designation or cross-designation, any objections to a
           designation shall be set out in a chart for each deposition, which chart shall be in
           a format with eight columns that identifies, for each transcript designation to
           which objections are lodged, IN TRANSCRIPT PAGE NUMBER ORDER: (1)
           the sequential number to be associated with the objection; (2) identification of
           the page and line of the transcript designations offered; (3) the party offering the
           transcript designation; (4) the party objecting to the transcript designation; (5) the
           Federal Rule of Evidence relied upon for the objection and a brief explanation by
           the objecting party; (6) a brief rebuttal by the proponent of the transcript
           designation; (7) a column, which the parties shall leave blank, with the heading
           “Sustained”; and (8) a second column, which the parties shall leave blank, with
           the heading “Overruled”;

   viii.   an itemization of damages setting forth each element of damages and the
           monetary amount thereof (including prejudgment interest, punitive damages, and
           attorney’s fees) sought;

     ix.   a description of other relief sought by each party;

     x.    stipulations concerning authenticity of documents, admissibility of exhibits or
           testimony, or undisputed facts;

     xi.   a description of each specific item of demonstrative evidence, physical evidence,
           or videotape evidence that will be offered at trial and any objections; and

    xii.   a list of any motions in limine that are pending to address issues the parties
           reasonably anticipate will arise at trial. See infra ¶ 14 regarding the timing for
           briefing on motions in limine.

c. Jury Cases. In jury cases, the parties must submit as part of the Joint Pretrial Statement:

      i.   proposed voir dire questions that indicate:
             I.   the voir dire questions on which the parties agree; and

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                   II.   the voir dire questions on which the parties disagree, with specific
                         objections noted below each disputed question and supporting legal
                         authority (if any);

           ii.   the text of each proposed jury instruction that indicates:
                    I.   the instructions on which the parties agree;
                   II.   the instructions on which the parties disagree, with specific objections
                         noted below each disputed instruction and supporting legal authority (if
                         any); and
                  III.   the proposed instruction’s source (e.g., Standardized Civil Jury
                         Instructions for the District of Columbia) or, for modified or new
                         instructions, the supporting legal authority.

          iii.   a proposed verdict form, as well as proposed special interrogatories (if any), that
                 includes date and signature lines for the jury foreperson.

      d. Non-Jury Cases. In non-jury cases, the plaintiff, or plaintiffs jointly, shall file proposed
         findings of fact and conclusions of law within one week of the close of evidence, and the
         defendant, or defendants jointly, shall file proposed findings of fact, which include
         specification of any facts proposed by the plaintiff that are admitted or controverted, and
         conclusions of law within one week of the close of evidence, unless otherwise ordered
         by the Court upon request of the parties.

13.   PRETRIAL CONFERENCE

      a. Attendance. In addition to parties’ counsel, all parties or party representatives must be
         present at the Pretrial Conference.

14.   MOTIONS IN LIMINE.

      a. Timing. Motions in limine shall be fully briefed at the time of filing of the parties’
         Joint Pretrial Statement. Accordingly, the moving party’s motion in limine and
         supporting memorandum shall be filed and served upon the opposing party at least 21
         days before the Joint Pretrial Statement is due. The opposition shall be filed and served
         upon the moving party within 14 days of service of the motion in limine. Any reply
         shall be due within 7 days of service of the opposition. Oral argument on motions in
         limine, if necessary, shall occur at the Pretrial Conference.

      b. Format. The Court does not accept omnibus motions in limine. Parties should file
         separate motions in limine for each discrete issue. The motions should be numbered in
         sequential order.




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15.   JURORS

      a. Confidentiality. The names and personal information of prospective and sitting jurors in
         any trial of this matter shall be kept confidential and not disclosed outside of open court,
         except upon order of the Court. See D.D.C. JURY SELECTION PLAN ¶ 18.1, available at
         https://www.dcd.uscourts.gov/jury-selections. Counsel and parties are cautioned that
         violation of this directive may result in contempt proceedings.

      SO ORDERED.


                                                             /s/ Ana C. Reyes
                                                             ANA C. REYES
                                                             United States District Judge




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